                                         UNITED STATES DISTRICT COURT
     Reset Form                          WESTERN DISTRICT OF MISSOURI

                                       CRIMINAL CASE COVER SHEET
County of Offense / Division of Filing                          Matter to be Sealed
                                                                                      ■   Secret Indictment
Christian / Southern
                                                                                          Juvenile
Defendant Information
Defendant Name:            PATRICIA ASHTON DERGES

Alias Name:

Birth Date:                12/27/1957
Related Case Information
Superseding Indictment?            Yes     ■   No If yes, original case number:
New Defendant(s)?              ■   Yes         No
Prior Complaint Case Number, if any:

Prior Target Letter Case Number, if any:
U.S. Attorney Information
AUSA Shannon T. Kempf

Interpreter Needed?
    Yes    Language and/or Dialect:
■   No

Location Status
Arrest Date:
    Currently in Federal Custody                                                    Writ Required?                 Yes       ■   No
    Currently in State Custody                                                                                 ■   Yes           No
                                                                                    Warrant Required?
    Currently on Bond

U.S.C. Citations
Total # of Counts          20 w/FA

     Set                       Index Key & Description of Offense Charged                                     Count(s)

      1        18:1343.F "FRAUD BY WIRE, RADIO, OR TELEVISION"                                                  1-8

      2        21:841B=ND.F NARCOTICS - SELL, DISTRIBUTE, OR DISPENSE                                           9-18

      3        18:1001.F STATEMENTS OR ENTRIES GENERALLY                                                       19-20

      4        18:981.F CIVIL FORFEITURE                                                                           FA



                                                    (May be continued on reverse)                               revised: 06/11/2019
